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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------X
 UNITED STATES OF AMERICA,

         -against-                                 MEMORANDUM AND ORDER

                                                   10-CR-627 (KAM)
 COURTNEY DUPREE

                     Defendant.
 -----------------------------------X


 MATSUMOTO, United States District Judge:

                                INTRODUCTION

             Defendant Courtney Dupree (“Dupree”) again moves this

 court to reconsider the prior rulings of this court and Judges

 Pollak and Vitaliano on the pretrial detention of Dupree and to

 order his release pursuant to 18 U.S.C. § 3142(i) for at least

 two weeks prior to and through the duration of his trial

 currently scheduled to commence on December 5, 2011.             For the

 reasons set forth below, Dupree’s motion for release for trial

 is denied.    The court is, however, cognizant of the limitations

 to which Dupree is subject at his current detention facility,

 the Metropolitan Detention Center in Brooklyn, New York (“MDC”).

 MDC will arrange for the following to be provided to Dupree at

 MDC so that he can adequately prepare for and participate in his

 defense with counsel:       (1) access to an attorneys’ visiting room

 with a computer that can read DVDs from 9:00 a.m. to 3:30 p.m.,

 with or without counsel, beginning on November 7, 2011 and until

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 the start of trial on December 5, 2011; (2) Dupree’s access to

 the aforementioned attorneys’ visiting room can be extended from

 3:30 p.m. to 9:30 p.m., provided Dupree is with counsel during

 this time and twenty-four hour notice is given to MDC for each

 day an extension is requested; (3) access to counsel and agents

 of his counsel in an attorneys’ visiting room with a computer

 that can read DVDs following each trial day until 9:30 p.m.,

 provided that twenty-four hour notice is provided to MDC for

 each day such access is requested; and (4) access to a locked

 storage area for the storage of documents so that Dupree has

 additional space other than his detention cell to store

 documents.

               In addition, the court shall arrange for Dupree’s

 counsel to have the ability to make copies during trial,

 including but not limited to allowing counsel to bring a

 portable printer or other electronic copying device for use in

 the courtroom before trial, after trial, and during breaks in

 the trial proceedings so that Dupree can be provided with

 documents to review at the end of each trial day.

                                 BACKGROUND
             Familiarity with the facts and prior opinions of this

 court in this matter is presumed and only the background

 relevant to this motion is set forth below.




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             I.    The Charges Against Dupree

             Dupree is charged in all five counts of a five-count

 second superseding indictment.       (See ECF No. 295, Superseding

 Indictment (“S-2 Indictment”).)       His co-defendants Thomas Foley

 (“Foley”) and Rodney Watts (“Watts”) (together with Dupree,

 “defendants”) are charged in three counts of the S-2 Indictment,

 and Watts is charged in four of the counts.           Count One charges

 all defendants with Conspiracy to Commit Bank, Mail and Wire

 Fraud in violation of 18 U.S.C. §§ 1349, 3551 et seq.              (Id.

 ¶¶ 18-19.)    Count Two charges all defendants with Bank Fraud in

 violation of 18 U.S.C. §§ 1344, 2, 3551 et seq.             (Id. ¶¶ 20-21.)

 Count Three charges defendants Dupree and Watts with making a

 False Statement in violation of 18 U.S.C. §§ 1014, 2, 3551 et

 seq.   (Id. ¶¶ 22-23.)      Count Four charges all defendants with

 making a False Statement by “knowingly and intentionally

 [making] a false statement and report, and willfully

 overvalu[ing] property and security, for the purpose of

 influencing the action of Amalgamated Bank upon one or more

 loans” in violation of 18 U.S.C. §§ 1014, 2, 3551 et seq.               (Id.

 ¶¶ 24-25.)    Finally, Count Five charges only defendant Dupree

 with an additional count of Bank Fraud in violation of 18 U.S.C.

 §§ 1344, 2, 3551 et seq.       (Id. ¶¶ 26-27.)

             The S-2 Indictment charges that defendant Dupree was

 the president and chief executive officer of GDC Acquisitions,

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 LLC (“GDC”).      (Id. ¶ 2.)   The first four counts arise out of an

 alleged scheme to defraud Amalgamated Bank (“Amalgamated”), a

 financial institution, and C3 Capital, LLC, a private equity

 investment firm, by obtaining, and attempting to obtain, loans

 for GDC’s subsidiaries, guaranteed by GDC, on the basis of false

 financial statements and other material misrepresentations

 between January 2007 and July 2010.        (Id. ¶¶ 5, 6, 8.)

             Count Five was originally included in a superseding

 indictment filed on March 25, 2011 (ECF No. 155, Superseding

 Indictment (“S-1 Indictment”)), and charges only Dupree with an

 additional count of bank fraud for “knowingly and intentionally

 execut[ing] and attempt[ing] to execute a scheme and artifice to

 defraud Amalgamated Bank, and to obtain moneys, funds, credits

 and other property owned by, and under the custody and control

 of, Amalgamated Bank by means of materially false and fraudulent

 pretenses, representations and promises” between August 4, 2010

 and March 1, 2011.      (S-2 Indictment ¶ 27.)

             II.    Dupree’s Pretrial Release

             Dupree was arrested on July 23, 2010, on the basis of

 a criminal complaint and affidavit, and released later that day

 on an $800,000 appearance bond with the following conditions:

 (1) Dupree must remain in and may not leave New York and New




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 Jersey without court permission 1; (2) he shall avoid all contact

 and not associate with former co-defendant Frank Patello except

 in the presence of counsel; (3) he shall surrender any and all

 passports to the United States Pretrial Services Agency by July

 26, 2010 and shall not apply for any other passport; (4) he is

 placed under the express supervision of the Pretrial Services

 Agency, subject to random visits at his home and/or place of

 work, and must report to that agency in person on a bi-weekly

 basis and by telephone as directed; and (5) he must not commit

 any federal, state, or local crime during the period of release.

 (See ECF No. 5, Order Setting Conditions of Release and Bond;

 Dupree Mem. at 2-3.) Dupree was subsequently charged in a four-

 count indictment returned on August 13, 2010, which charges the

 same first four counts of the S-2 Indictment.(See ECF No. 22,

 Indictment.)    After his indictment and arraignment on the

 Indictment, Dupree’s release continued on the same conditions

 imposed after his arrest.

             III. Dupree’s Pretrial Detention

             On March 16, 2011, Dupree was arrested on a new

 criminal complaint and affidavit alleging that he orchestrated


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               While no such Order appears on the docket, according to Dupree,
 this Order was “amended on August 23, 2010 to include travel to Washington,
 D.C., California, Connecticut, and Texas for business purposes and elsewhere
 in the continental United States with five (5) days notice to Pretrial
 Services and the Assistant United States Attorney.” (ECF No. 362-1,
 Memorandum of Law in Support of Defendant Dupree’s Motion for Release for
 Trial (“Dupree Mem.”) at 2-3).)

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 another scheme to defraud Amalgamated, the same financial

 institution that was the subject of the original Indictment.

 Following his arrest, Dupree appeared before Magistrate Judge

 Pollak who revoked Dupree’s bond and ordered pretrial detention

 finding the following:      (1) “the government has presented

 sufficient evidence . . . that [Dupree], at the very least,

 violated the conditions of the bond by committing additional

 crimes”; (2) “by clear and convincing evidence that [Dupree]

 presents a financial danger to [Amalgamated]”; (3) “[t]here’s no

 terms or conditions that . . . could mitigate that risk”; and

 (4) “having already been charged with bank fraud and being under

 very specific orders not to commit another crime . . . I have no

 choice.”    (ECF No. 131, Transcript of Proceedings as to Courtney

 Dupree held on March 16, 2011 (“March 16, 2011 Tr.”) at 31, 34.)

              Dupree then sought review of Judge Pollak’s order in

 front of District Court Judge Vitaliano, who at the time was

 acting in the capacity of Miscellaneous Duty judge.             On March

 18, 2011, Judge Vitaliano denied Dupree’s appeal finding that

 Dupree should be detained until the resolution of his case

 because (1) “[t]here is probable cause to believe that another

 crime is committed . . . by a preponderance of the evidence . .

 . [which] violates the condition in the bond initially signed”;

 (2) there is “a disregard for . . . court orders by Mr. Dupree”;

 and (3) “there is no condition or combination of conditions that

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 will assure [that] Mr. Dupree . . . will not continue to be an

 economic and financial threat that would lea[d] to further

 disregard and violation of orders relating to his release.”

 (Transcript of Proceedings as to Courtney Dupree held on March

 18, 2011 (“March 18, 2011 Tr.”) at 34-35.)

             Less than two weeks after Judge Vitaliano’s ruling,

 Dupree was charged with the additional count of bank fraud in

 the S-1 Indictment returned on March 25, 2011.              On March 30,

 2011, this court heard Dupree’s application for pretrial release

 on the S-1 Indictment and denied it based on the record before

 it and Judge Pollak’s and Judge Vitaliano’s rulings, but granted

 Dupree leave to present a better bail application.              (See ECF No.

 362-2, Transcript of Proceedings as to Courtney Dupree held on

 March 30, 2011 (“Mar. 30, 2011 Tr.”); Minute Entry dated May 31,

 2011.)    After Dupree was subsequently charged in the S-2

 Indictment returned on August 3, 2011 2, the court heard Dupree’s

 motion for reconsideration for bond and denied it without

 prejudice with leave to reapply.         (Minute Entry dated August 5,

 2011.)


             2
               The S-2 Indictment was filed because Count Five of the S-1
 Indictment was dismissed as insufficient on July 28, 2011. (ECF No. 286,
 Memorandum and Order at 12-13.) The court dismissed Count Five without
 prejudice and with leave for the government to re-present the matter to the
 grand jury, which it subsequently did. (Id. at 17.) The S-2 Indictment
 amended the S-1 Indictment by adding a paragraph stating that the loan
 agreement at issue required GDC and its subsidiaries “to maintain all of
 their operating bank accounts at Amalgamated Bank, and to deposit all of
 their revenue, upon receipt, into an operating account at Amalgamated.” (S-2
 Indictment ¶ 13.)

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             IV.   The Instant Motion

             Presently before the court is Dupree’s motion for

 release for trial, which is his fifth application for release –

 the third before this court – since his arrest on Count Five.

 Dupree moves this Court to reconsider its prior rulings on

 pretrial detention and to order his release pursuant to 18

 U.S.C. § 3142(i) at least two weeks prior to and during his

 trial to “an apartment, hotel or other suitable premises, at his

 own expense, under strict supervision so that he can obtain

 greater access to counsel, meet more readily with his co-

 defendant and his attorney, be present during interviews of

 witnesses necessary to the preparation of his defense, and

 review documents relevant to his defense.”          (Dupree Mem. at 1-

 2.)

                                 DISCUSSION

             Dupree makes two arguments in favor of his motion: (1)

 pretrial release is “necessary” for the preparation of and his

 participation in his defense under 18 U.S.C. § 3142(i) and (2)

 his pretrial detention since March 16, 2011 violates the Due

 Process Clause of the Fifth Amendment of the United States

 Constitution.     Each of these arguments will be addressed in

 turn.




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              I.    Pretrial Release Under 18 U.S.C. § 3142(i)

              Dupree seeks release under a provision in Section

 3142(i) which provides that, after a defendant has been

 detained, a “judicial officer may, by subsequent order, permit

 the temporary release of the person, in the custody of a United

 States marshal or another appropriate person, to the extent that

 the judicial officer determines such release to be necessary for

 preparation of the person’s defense or for another compelling

 reason.” 3   18 U.S.C. § 3142(i).      A defendant has the burden of

 showing that temporary release is “necessary for preparation of

 the person’s defense” under Section 3142(i).            See United States

 v. Jeffries, No. 3:10-CR-100, 2011 U.S. Dist. LEXIS 5597, at *12

 (E.D. Tenn. Jan. 20, 2011) (“[T]he Court finds that the

 Defendant has failed to show that his release is necessary for

 the preparation of his defense.”); United States v. Birbragher,

 No. 07-CR-1023-LRR, 2008 U.S. Dist. LEXIS 42676, at *3-4 (N.D.

 Iowa May 28, 2008) (same).

              Dupree argues that his ability to prepare for and

 participate in his defense, which requires the review of

 “thousands of pages of documents” and his participation in

 “witness interviews, meetings with other defense counsel, [and]

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               In his reply brief, Dupree requests that he be released into the
 custody of Chauncey Dupree or Stephanie Horton, both of whose relationship to
 Dupree is not revealed, for the two weeks prior to trial, and to defense
 counsel for the duration of the trial. (ECF No. 401, Reply in Support of
 Defendant Dupree’s Motion for Release for Trial (“Reply”) at 3.)


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 strategy meetings,” is impaired because he is detained and

 subject to several limitations at MDC. (Dupree Mem. at 1, 5-6.)

 As stated by Dupree, the limitations at MDC include the

 following:    (1) 300 minutes of monitored, shared telephone

 access per month with each call limited to fifteen minutes in

 duration and a mandatory one-hour waiting period between calls;

 (2) limited computer access with a monitored email account that

 is unable to receive attachments and has character limits; (3)

 no access to counsel in the mornings before trial and limited

 access after the trial day due to MDC’s visiting hours and

 transportation procedures; (4) limited storage space at MDC for

 maintaining documents; and (5) no access to GDC and its

 subsidiaries’ accounting database, called the “Hedberg

 database,” which consists of a server and two computers that

 cannot be transported to MDC and which requires Hedberg software

 and an operating platform and license that is not available at

 MDC.   (Id. at 5-6; Reply at 4-6.)       In addition, Dupree states

 that he is “incurring a substantial amount of attorneys’ fees”

 because he is not able to travel to counsel for document and

 transcript review and his counsel must make costly trips to

 Brooklyn.    (Dupree Mem. at 2.)

             In response, the government argues that Dupree’s

 release is not “necessary” to prepare his defense to satisfy the

 requirements of 18 U.S.C. § 3142(i) because (1) Dupree has had

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 ample time to prepare for trial, with the government producing

 documents as early as August 13, 2010, the day the original

 indictment was returned; (2) he can review large volumes of

 discovery materials on DVDs at a computer in his unit of MDC or

 the library; (3) any inconvenience due to Dupree’s confinement,

 which is common to all incarcerated defendants, does not render

 his release “necessary”; and (4) Dupree can apply for funds if

 he cannot afford the substantial fees being incurred by his

 retained Washington D.C.-based counsel.          (ECF. No. 378, Response

 in Opposition re Motion for Bond/Release for Trial (“Opp’n”) at

 4-5.)

            The court finds the government’s arguments to be

 persuasive.    In his moving papers, Dupree fails to cite a single

 case supporting his release under the provision at issue in

 Section 3142(i), and he has not made an adequate showing that

 his release is “necessary” for the preparation of his defense.

 See 18 U.S.C. 3142(i).      Nor does Dupree mention any other

 “compelling reason” that would permit the court to order his

 release.   Id.

            First, Dupree is in custody at the present time because

 his release was revoked pursuant to 18 U.S.C. § 3148 after Judge

 Pollak, Judge Vitaliano, and this court found that there is

 probable cause to believe that Dupree committed another federal

 crime, bank fraud, while he was on pretrial release against the

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 same victim as the charges then pending against him, namely

 Amalgamated, thereby violating one of the conditions of his

 release.    See 18 U.S.C. § 3148(b)(1)(A).        Based on the finding

 of probable cause that Dupree committed this additional crime

 during his pretrial release, Judge Pollak, Judge Vitaliano, and

 this court have also found that there is no condition or

 combination of conditions that will assure that Dupree does not

 pose a danger to Amalgamated.       See id. § 3148(b)(2) (“If there

 is probable cause to believe that, while on release, the person

 committed a Federal . . . felony, a rebuttable presumption

 arises that no condition or combination of conditions will

 assure that the person will not pose a danger to the safety of

 any other person or the community.”); see also Jeffries, 2011

 U.S. Dist. LEXIS 5597, at *12 (denying temporary release under

 Section 3142(i) where the “Court has found that the Defendant

 must be detained because he is a danger to the community.”).

             There has been no change in circumstances to warrant

 reconsidering these findings.       Dupree argues that “there is no

 way for [him] to now interfere with the flow of collections

 [owed] . . . to the bank” because Amalgamated automatically

 collects such payments, he is “cut off from all accounts at

 Amalgamated,” and the government has frozen his other corporate

 accounts.    (Dupree Mem. at 9 n. 1.)       The fact that the

 government and Amalgamated have at least partially succeeded in

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 taking actions to prevent Dupree from causing further harm,

 however, is not a reason in favor of granting release.              The

 government has shown probable cause to believe that Dupree, the

 owner and CEO of GDC and owner of its subsidiaries, was able to

 obtain funds that arguably were due to Amalgamated, open bank

 accounts in his sole control at other banks, and thereby

 obstruct Amalgamated’s ongoing collection efforts from GDC and

 its subsidiaries.     (See Opp’n at 11.)       Moreover, in light of the

 probable cause showing of Dupree’s commission of another federal

 crime while on release, Dupree has not shown by his past conduct

 that he can be taken at his word to abide by any additional

 conditions if he were again released, 4 and he has not rebutted

 the presumption that no condition or combination of conditions

 could reasonably assure the safety of Amalgamated.             See 18

 U.S.C. § 3148(b)(2); see also United States v. Mustachio, 254

 Fed. Appx. 853, 854 (2d Cir. 2007) (affirming an order of

 detention entered pursuant to 18 U.S.C. § 3148(b) where

 defendant’s “post-release criminal conduct . . . posed a risk to




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               Dupree suggests that, along with the original conditions imposed
 after his initial arrest, the following additional conditions will ensure his
 appearance, provide adequate protection for Amalgamated, and enable him to
 participate fully in his defense: “(1) electronic or telephonic monitoring;
 (2) identification of all accounts to which Mr. Dupree has a personal
 property interest, which will then be signed over to a third party for
 control, depriving him of the ability to make deposits; and (3) no new
 accounts will be opened until the conclusion of this matter.” (Dupree Mem.
 at 11.) The government finds this proposal to be “wholly inadequate.”
 (Opp’n at 12.)

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 victims’ financial security” and the government had conceded

 that defendants are unlikely to flee the court’s jurisdiction).

             Second, while Dupree’s release would certainly make it

 more convenient for him and his counsel to prepare his defense,

 his release is not “necessary” for the preparation of his

 defense under 18 U.S.C. § 3142(i).          There is limited authority

 in the Second Circuit addressing when a defendant’s release is

 “necessary” for the preparation of his defense under Section

 3142(i).    In United States v. Persico, No. S 84 Cr. 809 (JFK),

 1986 U.S. Dist. LEXIS 27586 (S.D.N.Y. Mar. 27, 1986), the

 defendant, whose release had not been previously granted and

 revoked, requested temporary release under Section 3142(i) for

 many of the same reasons propounded by Dupree, including greater

 telephone access and the ability to meet more readily with his

 co-defendants and their attorneys and to conduct in-person

 interviews of witnesses.      Id. at *2.      Notwithstanding the

 limited access the defendant had to telephones and the

 Attorney’s Conference Room for consultation with counsel, the

 court denied the request finding that the defendant “had ample

 time and opportunity to participate in the preparation of his

 defense and has, to the Court’s knowledge, availed himself

 thereof.”    Id. at *5.     In Persico, the defendant had over a year

 to prepare for his trial, “obtained a lengthy adjournment of

 trial to allow the[] preparation of defense motions, of which

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 there was no dearth,” and “[d]uring all this time, of course,

 [defendant] ha[d] been permitted to meet with his defense

 counsel and co-defendants for consultation, review of documents

 and investigation of the charges against him.”               Id. at *4-5.

             In the instant case, Dupree was released on bond on

 July 23, 2010, following his arrest on the complaint.               The

 original indictment charging Dupree was returned on August 13,

 2010, more than fourteen months ago.         More than seven months

 ago, on March 16, 2011, Dupree was arrested on a new complaint

 alleging another scheme to defraud Amalgamated for which Dupree

 was ordered to be detained by Judge Pollak.           The S-1 Indictment,

 which added an additional count of bank fraud, was returned on

 March 25, 2011. 5    Between July 23, 2010, the date of Dupree’s

 release following his arrest on the complaint, and March 16,

 2011, the date of his arrest on the second complaint, a period

 of nearly eight months, Dupree was on pretrial release and

 therefore had unfettered access to his counsel, his co-

 defendants and their counsel, the Hedberg database, and the

 majority of the documents relevant to his defense.               Indeed, the

 government produced a majority of its evidence, including

 transcripts of recordings, while Dupree was on pretrial release.

 (Opp’n at 4.)     After the revocation of his release, up to the

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               The fact that the S-2 Indictment was filed on August 3, 2011
 lends little support to Dupree’s trial preparation argument because it did
 not add any new charges against him about which he was previously unaware of
 at the time of the S-1 Indictment. See supra note 2.

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 present time, Dupree has been able to meet with counsel, has had

 access to telephones, computers, email, and the library, and has

 been able to review documents in prison, albeit in a more

 limited fashion.    (See Dupree Mem. at 5-6; Reply at 4-5.)

 Dupree has had adequate time – nearly fourteen months – since

 the original indictment was returned to prepare for trial.               See

 Birbragher, 2008 U.S. Dist. LEXIS 42676, at *4 (denying

 temporary release where “Defendant will have had more than

 adequate time to prepare his defense – almost one year from the

 time of Indictment.”).

            The court is cognizant of Dupree’s argument regarding

 “the complexity of this case and volume of information at

 issue.”   (Reply at 2.)     These factors, alone, are not

 sufficiently compelling to find that Dupree’s release is

 “necessary” for the preparation of his defense, as courts have

 ruled even in Section 3142(i) cases where a defendant’s prior

 release had not been revoked.       See United States v. Petters, No.

 08-364 (RHK/AJB), 2009 U.S. Dist. LEXIS 6489, at *7-8 (D. Minn.

 Jan. 28, 2009) (“While this [fraud] case may, in fact, be

 complicated and require Defendant to review hundreds if not

 thousands of documents and meet with his lawyers for dozens of

 hours, that fact, standing alone, simply does not justify

 Defendant’s release. . . .      Indeed, accepting such an argument

 would mean that the more complicated the crime, the more likely

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 a defendant should be released prior to trial. This is clearly

 an absurd result.”); Birbragher, 2008 U.S. Dist. LEXIS 42676, at

 *2-3 (denying temporary release in “an extremely complicated and

 document-intensive case”).

            Dupree attempts to distinguish Persico, Petters, and

 Birbragher based on the substantial risk of defendant’s flight

 that was found to be present in those cases.           (Reply at 6-7.)

 Although Dupree was not detained because he poses a flight risk,

 it has been found numerous times, based on Dupree’ conduct

 charged in Count Five of the S-2 Indictment, that Dupree is

 unlikely to abide by any condition or combination of conditions

 of release, and that he continues to present a danger to

 Amalgamated, which are factors favoring continued detention that

 are not present in Persico, Petters, and Birbragher.

            Third, because the court is mindful of the limitations

 to which Dupree is subject at MDC, the court has requested that

 MDC arrange for the following to be provided to Dupree at MDC so

 that he can adequately prepare for and participate in his

 defense with counsel:       (1) access to an attorneys’ visiting room

 with a computer that can read DVDs from 9:00 a.m. to 3:30 p.m.,

 with or without counsel, beginning on November 7, 2011 and until

 the start of trial on December 5, 2011; (2) Dupree’s access to

 the aforementioned attorneys’ visiting room can be extended from

 3:30 p.m. to 9:30 p.m., provided Dupree is with counsel during

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 this time and twenty-four hour notice is given to MDC for each

 day an extension is requested; (3) access to counsel and agents

 of his counsel in an attorneys’ visiting room with a computer

 that can read DVDs following each trial day until 9:30 p.m.,

 provided that twenty-four hour notice is provided to MDC for

 each day such access is requested; and (4) access to a locked

 storage area for the storage of documents so that Dupree has

 additional space other than his detention cell to store

 documents.    In addition, the court shall arrange for Dupree’s

 counsel to have the ability to make copies during trial,

 including but not limited to allowing counsel to bring a

 portable printer or other electronic copying device for use in

 the courtroom before trial, after trial, and during breaks in

 the trial proceedings so that Dupree can be provided with

 documents to review at the end of each trial day.

            Although the court does not find that the current

 conditions at MDC prevent Dupree from adequately preparing for

 trial, the additional accommodations by MDC warrant a finding

 that Dupree’s release is not “necessary” for the preparation of

 his defense.    Through these arrangements, which shall go into

 effect on November 7, 2011, Dupree can meet with his counsel,

 expert witnesses, and others necessary to prepare his defense

 for as many as 12.5 hours per day for almost an entire month

 prior to trial, and also until 9:30 p.m. on each trial day.               In

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 addition, Dupree will have 12.5 hours of daily access to a

 computer that can read DVDs and be used to review documents.

 Finally, Dupree should have ample storage space for the specific

 documents he may wish to review, both in a locked storage area

 and in his detention area. 6

            While Dupree seeks release by the instant motion, he

 states in his reply brief that he “requests only that the Court

 fashion an appropriate remedy to allow him access to the

 evidence that will allow him to refute the allegations lodged

 against him.”     (Reply at 7.)     The court finds that the foregoing

 arrangements at MDC are an “appropriate remedy.” 7            See Petters,

 2009 U.S. Dist. LEXIS 6489, at *7-8 (finding “little, if any”

 showing that defendant’s defense is being prejudiced by his

 continued detention where special arrangements were made for his

 counsel to meet with him in a dedicated conference room with a

 computer seven days per week from 8:00 a.m. until 10:00 p.m.

 with limited exceptions and defendant is permitted to retain


             6
               While this arrangement does not address Dupree’s lack of access
 to the so-called Hedberg database, counsel has not made an adequate showing
 of why access to the Hedberg database is “necessary” for the preparation of
 Dupree’s defense or why counsel is unable to review the relevant financial
 records from the Hedberg database with Dupree through the use of printouts or
 DVDs. It would be inappropriate if a defendant charged with financial fraud
 could cause his own release by using a computer database that can only be
 accessed and used outside of any detention facility.
             7
               The court finds Dupree’s complaint that he is incurring “a
 substantial amount of attorneys’ fees” to be unpersuasive. (Dupree Mem. at
 2.) While Dupree certainly has the right to choose his counsel, he should
 not be heard to complain that his choice of Washington D.C.-based counsel and
 “costly travel by his counsel to Brooklyn” warrants his release. (Id.)


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 documents in his cell overnight); Birbragher, 2008 U.S. Dist.

 LEXIS 42676, at *2-4 (finding that the jail administrator’s

 arrangement permitting defendant’s attorneys to bring a computer

 and CDs and meet with defendant in a conference room between the

 hours of 1:00-4:30 p.m. and 6:00-9:00 p.m. daily provides

 defendant “more than adequate time to consult with his attorneys

 and the requisite means to prepare his defense”); see also

 Jeffries, 2011 U.S. Dist. LEXIS 5597, at *12 (denying temporary

 release where “there appear to be means short of release that

 would permit defense counsel to access and review the

 Defendant’s Facebook account, such as . . . bringing a laptop

 computer to the facility where the Defendant is detained.”);

 United States v. Hazelwood, No. 1:10 CR 150, 2011 U.S. Dist.

 LEXIS 21399, at *9-10 (N.D. Ohio Feb. 16, 2011) (denying

 defendant’s temporary release to view discovery documents where

 defendant was given “substantial accommodations . . . beyond

 those accorded most detainees based on the complex nature of

 this case,” including possessing more boxes of information than

 other inmates and a video conference room substantially devoted

 to defendant’s use).

            II.   Pretrial Release as a Violation of Due Process

            “It is well settled that so long as pretrial detention

 is administrative rather than punitive, it is constitutional.”

 United States v. El-Hage, 213 F.3d 74, 79 (2d Cir. 2000).               A

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 determination of whether a pretrial detention is administrative

 or punitive “turns on whether the government has a nonpunitive

 reason for detention and whether the detention appears excessive

 in relation to the nonpunitive purpose.”          United States v.

 Millan, 4 F.3d 1038, 1043 (2d Cir. 1993) (internal citations

 omitted).       In evaluating whether a “pre-trial detention has

 become unconstitutionally excessive, a court must weigh: (1) its

 length, (2) the extent of the prosecution’s responsibility for

 delay of the trial, (3) the gravity of the charges, and (4) the

 strength of the evidence upon which detention was based, i.e.,

 the evidence of risk of flight and dangerousness.”             El-Hage, 213

 F.3d at 79; see United States v. El-Gabrowny, 35 F.3d 63, 65 (2d

 Cir. 1994); see also United States v. Barone, No. S1 09 Cr. 91

 (NRB), 2010 U.S. Dist. LEXIS 57965, at *6 (S.D.N.Y. June 11,

 2010). 8

             Dupree contends that his pretrial detention violates

 due process because (1) he has already been in pretrial

 detention for seven months and will have been in detention for

 nine months at the time his trial is scheduled to commence,


             8
               Both parties cite to United States v. Orena for the standard on
 evaluating the due process implications of pre-trial detentions. 986 F.2d
 628 (2d Cir. 1993); (see Dupree Mem. at 7; Opp’n at 5.) The standard cited
 by the Second Circuit in that case includes three factors: “(i) the length of
 detention, (ii) the extent of the prosecution’s responsibility for the delay
 of the trial; and (iii) the strength of the evidence upon which the detention
 was based, in this case, evidence of [defendant’s] danger to the community.”
 Orena, 986 F.2d at 630 (citations omitted). The standard employed by the
 court today considers an additional factor, the gravity of the charges.


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 which has caused the preparation of his defense to suffer

 (Dupree Mem. at 7-9); (2) any delay of trial caused by defense

 counsel was done to protect and preserve Dupree’s rights and

 should not be given any weight in the analysis (id. at 10); (3)

 his detention based on Count Five, which he is alleged to have

 committed while on release pending trial, is based on attenuated

 evidence (id.); and (4) Dupree is not a flight risk or danger to

 the community (id. at 11).

            In response, the government argues that (1) Dupree’s

 detention is “well-within acceptable norms and is not enough, by

 itself, to warrant his release” (Opp’n at 5); (2) the defendants

 have made numerous and repeated motions throughout the case and

 are responsible for any delay (id. at 6-7); (3) three judges

 have found on separate occasions that there was probable cause

 that Dupree committed a crime on bond (id. at 7-10); and (4)

 Dupree has not rebutted the presumption that no conditions will

 assure that he will not pose a danger to others (id. at 10-12).

 Each of the four factors described above will be addressed in

 turn.

                  A.    Length of Pretrial Detention

            The length of a defendant’s pretrial detention alone

 is not “dispositive”; rather, the court must consider all four

 factors in evaluating whether the detention violates the

 defendant’s due process rights.       El-Hage, 213 F.3d at 79; see

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 Orena, 986 F.2d at 631 (“[G]iven the multi-factor test . . . the

 length of a detention period will rarely by itself offend due

 process.”)    Additionally, “[n]o particular time period marks the

 constitutional limit of pretrial detention; each case must be

 examined on its own facts.”      El-Gabrowny, 35 F.3d at 65 (citing

 United States v. Gonzales Claudio, 806 F.2d 334, 340 (2d Cir.

 1986)).   In El-Gabrowny, the court concluded that defendant’s

 twenty-seven month detention, though “unquestionably a long

 duration[,]” did not violate his due process rights.              Id.; see

 also El-Hage, 213 F.3d at 78, 81 (holding that a thirty to

 thirty-three month pretrial detention was regulatory and not

 violative of due process rights); Orena, 986 F.2d at 630

 (holding that a nine month detention did not “exceed[] allowable

 limits”); United States v. Berrios-Berrios, 791 F.2d 246, 252

 (2d Cir. 1986) (holding that “pretrial detention for eight

 months has not been unconstitutional”); United States v.

 Morrison, No. 04-CR-699, 2006 U.S. Dist. LEXIS 50219, at *3, 31

 (E.D.N.Y. July 21, 2006) (finding that a two year pretrial

 detention did not violate defendant’s due process rights).

            Here, defendant Dupree will have been detained for

 nine months when his trial commences.         As this detention is

 similar in length to the nine-month detention found

 constitutional in Orena, 986 F.2d at 630, and well shorter than

 the two-year detention found to be constitutional in Morrison,

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 2006 U.S. Dist. LEXIS 50219, at *3, the court acknowledges that

 “the length of detention . . . does not in and of itself offend

 due process.”    Orena, 986 F.2d at 631.

                  B.    The Prosecution’s Responsibility for Delay

            Turning next to the extent to which the prosecution

 bears responsibility for the delay of trial, “this inquiry

 involves purely factual determinations.”          United States v.

 Melendez-Carrion, 820 F.2d 56, 60 (2d Cir. 1987).              The court

 finds that the government is largely not responsible for delay.

 Defendants have requested several extensions of deadlines and

 have made countless motions, as in their right, including

 several motions to reconsider, in this case.           See, Gonzales

 Claudio, 806 F.2d at 341 (“[D]efendants cannot litigate pretrial

 matters to the ultimate degree and then rely on the extra time

 attributable to their motion practice to claim that the duration

 of pretrial detention violates due process.”).               For example, the

 instant motion to reconsider is Dupree’s fifth attempt to seek

 release since his arrest on March 16, 2011, for which he has had

 four hearings in front of three judges, including two before

 this court.    Although the government has filed one motion to

 reconsider in this case and requested its fair share of modest

 extensions, the government has responded to defendants’ numerous

 motions often on an expedited schedule and, thus far, has



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 satisfied its obligations to produce materials to defendants in

 a timely manner.

            Furthermore, both parties agree that this is a

 complex, document-intensive case, and any justifiable delays

 stemming from such complexity cannot be attributed to the

 government.    (Dupree Mem. at 10; Opp’n at 7); see El-Hage, 213

 F.3d at 80 (finding that the “prosecution appears to bear very

 little responsibility for the delay of trial” where “the

 underlying case is of exceptional complexity and . . . discovery

 and trial preparation are of necessity extremely time-consuming

 for both sides”); El-Gabrowny, 35 F.3d at 65 (“[T]he importance

 and complexity of the case and the extensive evidence . . .

 reasonably require a lengthy period for pretrial preparation.”).

            While trial was originally scheduled to begin as early

 as October 12, 2010, all parties filed letters requesting that

 the trial date be adjourned and that the case be designated

 complex for purposes of the Speedy Trial Act.            (See ECF No. 34,

 Scheduling Order dated September 8, 2010.)           After a new trial

 date of April 25, 2011 had been established, because of “the

 nature of the prosecution, the voluminous discovery, and the

 recent superseding indictment,” the court found that “the ends

 of justice are best served by a later trial date” and adjourned

 trial a second time to July 5, 2011. (Minute Entry dated March

 25, 2011.)    The government expressed its readiness to proceed to

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 trial at several conferences before the court.               Finally, at the

 request of Dupree and co-defendant Watts, the trial was

 adjourned a third time to the currently scheduled date of

 December 5, 2011.     (Minute Entry dated June 2, 2011; Minute

 Entry dated September 13, 2011.)

            Based on the history of this case, the court finds

 that the government is not responsible for the delay in bringing

 Dupree to trial, and the court concludes that this factor weighs

 against finding that Dupree’s due process rights were violated

 by his continued pretrial detention.

                  C.    The Gravity of the Charges

            The court finds that the gravity of Dupree’s charges

 weigh in the government’s favor.         Dupree is charged with

 orchestrating a multi-million dollar scheme to defraud

 Amalgamated Bank and C3 Capital.         (S-2 Indictment ¶ 8.)        The

 indictment alleges that Dupree’s company, GDC, and its

 subsidiaries entered into an agreement in 2008 with Amalgamated

 to borrow up to $21 million, and that Dupree and his co-

 defendants “deliberately and falsely overstated the accounts

 receivable on the consolidated financial statements and

 [Borrowing Base Certificates] supplied to Amalgamated,” upon

 which Amalgamated relied to determine the amount that GDC and

 its subsidiaries could borrow in any given month.              (Id. ¶¶ 9,

 11, 14.)   Dupree is also charged with “further defraud[ing]

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 Amalgamated Bank by having GDC purchase Image Lighting, Inc.

 covertly, contrary to the terms of the [loan agreement], and by

 concealing the purchase from Amalgamated.”           (Id. ¶ 15.)

 Moreover, it is alleged that Dupree and his co-defendants

 “attempted to obtain approximately $5 million in funding from C3

 Capital by submitting false financial statements and accounts

 receivable aging reports.”       (Id. ¶ 16.)     Finally, Count Five

 charges Dupree with bank fraud committed after Dupree was

 arrested and released on bond, and alleges that he “converted

 approximately $331,000 in customer payments” that were owed to

 Amalgamated “to his personal use.” 9        (Id. ¶ 17.)

             Together, these alleged offenses, and the millions of

 dollars involved in the various frauds, constitute serious

 charges against Dupree.       See United States v. Mayala, No. 08-CR-

 42 (JBW), 2009 U.S. Dist. LEXIS 37793, at *4 (E.D.N.Y. Mar. 26,

 2009) (“The crime is serious because [defendant] facilitated

 bank fraud and caused losses to innocent victims.”); see also

 United States v. Agugbo, No. 00-CR-94 (RPP), 2000 U.S. Dist.

 LEXIS 6914, at *6 (S.D.N.Y. May 19, 2000) (finding bank fraud to

 be a serious offense under the Speedy Trial Act because it “is

 punishable by a maximum of thirty years in prison and a

 $1,000,000 fine”).


             9
              18 U.S.C. § 3147 provides that a person convicted of an offense
 committed while released shall face an additional sentence of not more than
 ten years if the offense is a felony.

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                  D.   The Strength of the Evidence Upon Which
                       Detention Was Based

            The fourth and final factor in the analysis evaluates

 the “strength of the evidence upon which the detention was

 based,” in this case, evidence of Dupree’s danger to

 Amalgamated.    Orena, 986 F.2d at 630.       “[T]he constitutional

 limits on a detention period based on dangerousness to the

 community may be looser than the limits on a detention period

 based solely on risk of flight [because] [i]n the former case,

 release risks injury to others . . . .”          Id. at 631.       The court

 may also consider “economic harm” as evidence of dangerousness.

 U.S. v. Madoff, 586 F. Supp. 2d 240, 253 (S.D.N.Y. 2009).

            The government contends that the evidence against

 Dupree warrants continued detention because of his propensity to

 cause further financial injury to Amalgamated.               (Opp’n at 10-

 12.)   Although Dupree argues that the evidence against him is

 “attenuated” (Dupree Mem. at 10), this court and two other

 courts have found that “[t]here is ample evidence that

 [defendant] constitutes a danger to ‘the safety of . . . other

 persons and the community.’”      Orena, 986 F.2d at 631 (quoting 18

 U.S.C. § 3142(e)).     Specifically, the government has

 sufficiently established probable cause to believe that Dupree

 fraudulently converted approximately $331,000 in customer

 payments owed to Amalgamated under the loan agreement and used


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 that money for various personal expenditures, including but not

 limited to payment of a car lease, rent for his apartment, and

 fees for his lawyers.       (See S-2 Indictment ¶ 17; Opp’n at 9, Ex.

 A; March 16, 2011 Tr. at 4-6; March 18, 2011 Tr. at 17-20; March

 30, 2011 Tr. at 22-29.)      The government has presented evidence

 to establish probable cause to believe Dupree has defrauded

 Amalgamated on multiple occasions, including while he was on

 release.   His continued detention is warranted to protect

 Amalgamated from yet another fraudulent scheme.

            Because the length of detention alone is not

 dispositive, the government is largely not responsible for trial

 delay, Dupree’s alleged offenses are serious, and Dupree

 continues to pose a risk to Amalgamated, the court “discern[s]

 no constitutional impediment to [his] continued detention.”

 Millan, 4 F.3d at 1049.      These four factors, taken together,

 justify continued detention, especially in view of the fact that

 trial is scheduled to start in approximately a month’s time.

 See El-Gabrowny, 35 F.3d at 65.

                                 CONCLUSION

            For the reasons set forth above, Dupree’s motion for

 release for trial is denied.      The court is, however, cognizant

 of the limitations to which Dupree is subject at MDC.

 Therefore, the following accommodations will be provided to

 Dupree at MDC so that he can adequately prepare for and

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 participate in his defense with counsel:          (1) access to an

 attorneys’ visiting room with a computer that can read DVDs from

 9:00 a.m. to 3:30 p.m., with or without counsel, beginning on

 November 7, 2011 and until the start of trial on December 5,

 2011; (2) Dupree’s access to the aforementioned attorneys’

 visiting room can be extended from 3:30 p.m. to 9:30 p.m.,

 provided Dupree is with counsel during this time and twenty-four

 hour notice is given to MDC for each day an extension is

 requested; (3) access to counsel and agents of his counsel in an

 attorneys’ visiting room with a computer that can read DVDs

 following each trial day until 9:30 p.m., provided that twenty-

 four hour notice is provided to MDC for each day such access is

 requested; and (4) access to a locked storage area for the

 storage of documents so that Dupree has additional space other

 than his detention cell to store documents.

               In addition, the court shall arrange for Dupree’s

 counsel to have the ability to make copies during trial,

 including but not limited to allowing counsel to bring a

 portable printer or other electronic copying device for use in

 the courtroom before trial, after trial, and during breaks in




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 the trial proceedings so that Dupree can be provided with

 documents to review at the end of each trial day.

 SO ORDERED.

 Dated: November 3, 2011
        Brooklyn, New York


                                          __________/s/_______
                                          KIYO A. MATSUMOTO
                                          United States District Judge
                                          Eastern District of New York




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